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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    JONATHAN CHRISTOPHER COFFER,                       No. 2:22-cv-1386 DAD DB P
12                        Plaintiff,
13            v.                                         ORDER
14    GRIGSBY, et al.,
15                        Defendants.
16

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18          Plaintiff, a state prisoner proceeding pro se, filed a civil rights complaint pursuant to 42

19   U.S.C. § 1983 on August 4, 2022. After plaintiff failed to submit a motion to proceed in forma

20   pauperis or pay the filing fee, despite having over five months to do so, and when he did not

21   inform the court of any address change, on February 27, 2023, the court dismissed the case

22   without prejudice.

23          On June 1, 2023, plaintiff filed a document in which he appeared to seek to reopen the

24   case. On June 6, 2023, the court denied that request. In a document filed here on November 27,

25   2023, plaintiff appears to again ask the court to reopen the case. Plaintiff is advised that this case

26   was closed well over five months before he filed the second request to reopen the case and the

27   court will not, again, consider the issue.

28   ////
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      Case 2:22-cv-01386-DAD-DB Document 13 Filed 06/07/24 Page 2 of 2


 1             Accordingly, IT IS HEREBY ORDERED that plaintiff’s second request to reopen this

 2   case (ECF No. 12) is denied. Any further filings from plaintiff in this case will be disregarded.

 3   Dated: June 6, 2024

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21   DLB:9
     DB prisoner inbox/civil rights/R/coff1386.reopen(2)
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